                 IN THE UNITED STATES DISTRICT COURT FOR THE
                         WESTERN DISTRICT OF MISSOURI
                              SOUTHERN DIVISION


UNITED STATES OF AMERICA,                            )
                                                     )
                          Plaintiff,                 )
                                                     )
       vs.                                           )      No. 20-03010-01-CR-S-BCW
                                                     )
JOHNATHAN LOGAN CHASTAIN,                            )
                                                     )
                          Defendant.                 )


                        ACCEPTANCE OF PLEA OF GUILTY AND
                             ADJUDICATION OF GUILT


       Pursuant to the Report and Recommendation of the United States Magistrate Judge, to

which there has been no timely objection, the plea of guilty of the Defendant to Count Three and

admitted to the Forfeiture Allegation contained in the Indictment filed on January 23, 2020, is now

Accepted and the Defendant is Adjudged Guilty of such offense. Sentencing will be set by

subsequent Order of the Court.




                                                            /s/ Brian C. Wimes
                                                           BRIAN C. WIMES
                                                     UNITED STATES DISTRICT JUDGE




Date: July 13, 2020




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